        Case 3:21-cv-08458-LB Document 42 Filed 08/08/22 Page 1 of 2




 1 David V. Roth (State Bar No. 194648)
    dvr@manningllp.com
 2 Chandra Carr (State Bar No. 315259)
    czc@manningllp.com
 3 Gabriella Pedone (State Bar No. 308384)
    gap@manningllp.com
 4 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
 5 One California Street, Suite 900
   San Francisco, California 94111
 6 Telephone: (415) 217-6990
   Facsimile: (415) 217-6999
 7
   Attorneys for Defendant, TARGET
 8 CORPORATION

 9                             UNITED STATES DISTRICT COURT
10          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
11

12 BRYON JACKSON,                                   Case No. 3:21-cv-08458-LB

13                Plaintiff,                        (State Court Case No. RG21110499)

14         v.                                       NOTICE OF WITHDRAWAL AS
                                                    COUNSEL OF RECORD OF CHANDRA
15 TARGET CORPORATION,                              CARR
16                Defendant.

17

18         PLEASE TAKE NOTICE that Counsel for Defendant TARGET CORPORATION

19 Chandra Carr, hereby makes the Notice of Withdrawal and withdraws as counsel of record in the

20 above-entitled matter.

21

22 DATED: August 8, 2022                    MANNING & KASS
                                            ELLROD, RAMIREZ, TRESTER LLP
23

24

25                                          By:
                                                  Chandra Carr
26                                                Attorneys for Defendant, TARGET
                                                  CORPORATION
27

28

                                                                Case No. 3:21-cv-08458-LB
                NOTICE OF WITHDRAWAL AS COUNSEL OF RECORD OF CHANDRA CARR
         Case 3:21-cv-08458-LB Document 42 Filed 08/08/22 Page 2 of 2




 1                                 PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3       At the time of service, I was over 18 years of age and not a party to this
   action. I am employed in the County of Los Angeles, State of California. My
 4 business address is 801 S. Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

 5       On August 8, 2022, I served true copies of the following document(s)
   described as NOTICE OF WITHDRAWAL AS COUNSEL OF RECORD OF
 6 CHANDRA CARR on the interested parties in this action as follows:

 7
     Bryon Jackson                             Plaintiff, In Pro Per
 8 1350 Marina Village Parkway
     Alameda, CA 94501
 9 Tel: (201) 776-4282
     Email: zaqw1478@hotmail.com
10

11
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
12 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
13 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
14
           I declare under penalty of perjury under the laws of the United States of
15 America that the foregoing is true and correct and that I am employed in the office
     of a member of the bar of this Court at whose direction the service was made.
16
           Executed on August 8, 2022, at Los Angeles, California.
17

18
19

20
                                               Julie Contreras
21

22

23

24

25

26
27

28

                                           1                   Case No. 3:21-cv-08458-LB
               NOTICE OF WITHDRAWAL AS COUNSEL OF RECORD OF CHANDRA CARR
